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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                Chapter 11
 In re:

     Taylor-Wharton International LLC, et al.,1                 Case No. 15-12075 (BLS)
                                                                Jointly Administered
                       Debtors.
                                                               Hearing Date: Only if an objection is filed
                                                               Obj. Deadline: Dec. 15, 2015 @ 4:00 p.m. (ET)


      FIRST MONTHLY FEE APPLICATION OF EISNERAMPER LLP AS FINANCIAL
      ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
     ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED
              AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                  OCTOBER 16, 2015 THROUGH OCTOBER 31, 2015


Name of Applicant:                                                                 EisnerAmper LLP

Authorized to Provide Professional Services to:                   Official Committee of Unsecured Creditors

Date of Retention:                                                                        Pending
Period for which Compensation and
                                                                  October 16, 2015 through October 31, 2015
Reimbursement is Sought:

Amount of Compensation Sought as Actual,
                                                                        $ 55,469.50 @ 80% = $ 44,375.60
Reasonable and Necessary:

Amount of Expense Reimbursement Sought as
                                                                                          $ 253.55
Actual, Reasonable and Necessary:

Total Amount of Compensation and
                                                                                        $ 44,629.15
Reimbursement Sought


 This is a:           X monthly                  ______ interim                      ______ final application.




 1
   The Debtors and the last four digits of their respective U.S. federal taxpayer identification numbers are as follows:
 Taylor-Wharton International LLC (1577) and Taylor-Wharton Cryogenics LLC (1713). The headquarters for the
 above-captioned Debtors is located at 5600 Rowland Rd., Minnetonka, MN 55343.


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                        TAYLOR- WHARTON INTERNATIONAL LLC, ET AL.
                         OCTOBER FEE STATEMENT SUMMARY SHEET

 NAME OF PROFESSIONAL                TITLE                    HOURS        RATE             FEE
 Wayne P. Weitz                      Managing Director            47.90     600.00     $28,740.00
 Wayne P. Weitz                        Travel                       3.0     300.00           900.00
 William J. Pederson                 Director                      19.4     490.00         14,406.00
 William J. Pederson                   Travel                       1.1     245.00           269.50
 Georgiana Nertea                    Senior Manager               28.60     390.00         11,154.00
 Grand Total                                                     110.00                $55,469.50

                           COMPENSATION BY PROJECT CATEGORY

CATEGORY                                              HOURS                          FEE
Asset Disposition                                                   5.70                   $2,958.00
Business Analysis                                                  51.90                   25,929.00
Case Administration                                                 2.80                     1,248.00
Court Hearing                                                       3.60                     1,614.00
Data Analysis                                                       3.50                     1,525.00
Fee/Employment Application                                          2.10                     1,238.00
Financing                                                          26.00                    14,578.00
Meetings of Creditors                                              10.30                     5,210.00
Travel Time                                                         4.10                     1,169.50
TOTAL HOURS & FEES                                               110.00                    $55,469.50




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                                           EXPENSE SUMMARY

DISBURSEMENTS:                                                                             AMOUNT
a.) Telephone
b.) Messenger Service
c.) Photocopying                             pages @      $   0.10      per page                  -
d.) Travel                             120 miles @        $   0.575     per mile              69.00
e.) Postage
f.) Overnight Mail
g.) Facsimile Charges                        pages @      $   1.00      per page                  -
h.) Other (Explain):
         Court Call telephonic court appearance                                               30.00
         Train Fare                                                                           51.00
         Meals                                                                                75.55
         Parking                                                                              28.00
Disbursements Total:                                                                   $     253.55




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                              Chapter 11
In re:

Taylor-Wharton International LLC, et al.,1                    Case No. 15-12075 (BLS)
                                                              Jointly Administered
                      Debtors.
                                                             Hearing Date: Only if an objection is filed
                                                             Obj. Deadline: Dec. 15, 2015 @ 4:00 p.m. (ET)


   FIRST MONTHLY FEE APPLICATION OF EISNERAMPER LLP AS FINANCIAL
   ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR
ALLOWANCE OF COMPENSATION FOR PROFESSIONAL SERVICES RENDERED AND
      REIMBURSEMENT OF EXPENSES FOR THE PERIOD OCTOBER 16, 2015
                      THROUGH OCTOBER 31, 2015

         EisnerAmper LLP (“EisnerAmper”), submits this First Monthly Fee Application as Financial

Advisor to the Official Committee of Unsecured Creditors (the “Committee”) for Allowance of

Compensation for Services Rendered and Expenses Incurred for the Period October 16, 2015 through

October 31, 2015 (the “Application”), pursuant to the Order Pursuant to 11 U.S.C. §§ 105(a) and 331

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of Professionals,

entered on November 6, 2015 (the “Interim Compensation Order”).                                   By this Application,

EisnerAmper, as financial advisor to the Committee in these cases, seeks interim approval and

payment of compensation for financial advisory services performed and expenses incurred during the

period commencing October 1, 2015 through October 31, 2015 (the “Compensation Period”). In

support hereof, EisnerAmper, respectfully represents the following:




1
  The Debtors and the last four digits of their respective U.S. federal taxpayer identification numbers are as follows:
Taylor-Wharton International LLC (1577) and Taylor-Wharton Cryogenics LLC (1713). The headquarters for the
above-captioned Debtors is located at 5600 Rowland Rd., Minnetonka, MN 55343.


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                                 I.   FACTUAL BACKGROUND

       1.      On October 7, 2015 (the “Petition Date”), each of the Debtors filed a voluntary petition

for relief (the “Chapter 11 Cases”) under Chapter 11 of the Bankruptcy Code in the United States

Bankruptcy Court for the District of Delaware. No trustee or examiner has been appointed in the

Chapter 11 Cases.

       2.      Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, the Debtors continue to

operate their businesses and manage their properties as debtors in possession.

       3.      On October 16, 2015, the Office of the United States Trustee appointed the Committee

pursuant to section 1102(a)(1) of the Bankruptcy Code. See D.I. 68. The Committee was initially

comprised of three members: (a) Pension Benefit Guaranty Corporation, (b) O’Neal Steel, Inc., and (c)

Harsco Corporation. On the same day, the Committee selected Lowenstein Sandler LLP

(“Lowenstein”) as its lead counsel and The Rosner Law Group LLC (“RLG”) to serve as Delaware

counsel in these Chapter 11 Cases.

       4.      On November 10, 2015, the Office of the United States Trustee filed an Amended

Notice of Appointment of Creditors’ Committee (D.I. 208) reflecting the resignation from the

Committee of Harsco Corporation.

             II.    COMPENSATION AND REIMBURSEMENT OF EXPENSES

       5.      EisnerAmper submits this Application for the allowance of reasonable compensation

for actual and necessary professional services provided to the Committee as its financial advisor in

these cases, and for reimbursement of actual and necessary out-of-pocket expenses incurred in

representing the Committee during the Compensation Period. All included services and costs for




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which EisnerAmper seeks compensation were performed for, or on behalf of, the Committee during

the Compensation Period.

        6.      In connection with services performed, EisnerAmper billed a total of $55,469.50 in

fees and incurred $253.55 in expenses on behalf of the Committee during the Compensation Period.

        7.      By this Application, EisnerAmper seeks: (a) interim allowance of compensation in

the amount of $55,469.50 for financial advisory services rendered during the Compensation Period,

and reimbursement in the amount of $253.55 for expenses incurred during the Compensation Period

and (b) pursuant to the Interim Compensation Order, payment of compensation in the amount of

$44,375.60 (80% of the compensation requested) and reimbursement of expenses incurred by

EisnerAmper during the Compensation Period in the amount of $253.55 (100% of the expenses

incurred).

        8.      All of the professional services that EisnerAmper rendered to the Committee during

the Application Period are set forth in detail in Exhibit C, segregated according to projects billing

categories. Brief descriptions of certain services deserving specific mention are highlighted below,

by project category:

             A) Asset Disposition: (Total Hours: 5.70; Total Fees: $2,958.00)

        This category includes sales, leases (§365 matters), abandonment and transaction work related

to asset disposition, including §363 sales and other dispositions of assets.




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           B) Business Analysis: (Total Hours: 51.90; Total Fees: $25,929.00)

       This category includes time spent in the review of debtors’ business plan; development and

review of strategies; preparation and review of cash flow forecasts and feasibility studies and general

review of business matters as they pertain to the bankruptcy case.

           C) Case Administration: (Total Hours: 2.80; Total Fees: $1,248.00)

       This category includes time spent in coordination and compliance matters including case

management tasks; schedules; contacts with the Office of the United States Trustee; general record

keeping and documentation requirements.

           D) Court Hearing: (Total Hours: 3.6; Total Fees: $1,614.00)

       Time billed to this category includes time related to attending and preparing for hearings held

before the United States Bankruptcy Court for the District of Delaware. During the Compensation

Period, the Applicant, among other things, attended hearings before the Bankruptcy Court.

           E) Data Analysis: (Total Hours: 3.50; Total Fee: $1,525.00)

       Among other services provided in this category during the Compensation Period, EisnerAmper

professionals researched and reviewed bankruptcy documentation and public filings of the Debtors;

performed an extensive analysis of Debtors’ financial information including cash flow reports and

valuations and provided feedback and analysis to the Committee and its legal counsel regarding our

findings. EisnerAmper professionals also analyzed the intercompany debts of the Debtors and non-

Debtor foreign subsidiaries at the request of Committee counsel.

           F) Fee and Employment Application: (Total Hours: 2.10;Total Fees: $1,238.00)

       This category includes the preparation and/or review of employment and fee applications for

self or others; motions to establish interim procedures.




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             G) Financing: (Total Hours:26.00; Total Fees: $14,578.00)

       EisnerAmper’s efforts were focused primarily on working with and advising the Committee’s

legal counsel in connection with cash collateral issues and DIP forecast, including assistance with the

financial aspects of the Committee’s DIP Objection.

             H) Meeting of Creditors: (Total Hours: 10.30; Total Fees: $5,210.00)

       Time billed to this category represents the Applicant’s interactions with members of and

counsel for the Official Committee of Unsecured Creditors.

             I) Travel Time: (Total Hours: 4.10; Total Fees: $1,169.50)

       Time billed to this category represents all travel time in connection with this case.

       9.         The billing invoices for the Compensation Period are annexed hereto as Exhibit A,

Professional Time by Staff Member, Exhibit B, Professional Schedule of Time by Date Order and

Exhibit C, Detail Schedule of Professional Time by Code. These invoices detail the services

performed. The fees and expenses sought within the Statement Period are as follows:

                                             Fee Payment        Expense Reimbursement    Total Interim
       Fees                   Less 20%        Requested               Requested            Request
    $55,429.50              ($11,085.90)      $44,375.60               $253.55            $44,629.15



                     III.     ANALYSIS AND NARRATIVE DESCRIPTION OF
                              SERVICES RENDERED AND TIME EXPENDED

       10.        Section 330(a) of the Bankruptcy Code provides, in pertinent part, that bankruptcy

courts may award “reasonable compensation for actual, necessary services rendered by the trustee,

examiner, ombudsman, professional person, or attorney and by any paraprofessional employed by

any such person.” See 11 U.S.C. § 330(a)(1)(A). The professionals requesting compensation from

the bankruptcy estate bear the burden of demonstrating to the Court that the services performed and

fees incurred were reasonable.




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       11.     In determining the amount of reasonable compensation to be awarded, the Court

shall consider, pursuant to Section 330(a)(3) of the Bankruptcy Code, the nature, extent, and the

value of such services, taking into account all relevant factors, including: (A) the time spent on such

services, (B) the rates charged for such services, (C) whether the services were necessary to the

administration of, or beneficial at the time at which the service was rendered toward the completion

of, a case under this title, (D) whether the services were performed within a reasonable time

commensurate with the complexity, importance, and nature of the problem, issue, or task addressed,

(E) with respect to a professional person, whether the person is board certified or otherwise has

demonstrated skill and experience in the bankruptcy field, and (F) whether the compensation is

reasonable, based on the customary compensation charged by comparably skilled practitioners in

cases other than cases under this title. See 11 U.S.C. § 330(a)(3)(A)-(F).

       12.     EisnerAmper believes that its rates are market rates within the range charged by

other financial advisors in this marketplace for similar Chapter 11 cases. Here, the compensation

requested does not exceed the reasonable value of the services rendered. EisnerAmper's standard

hourly rates for work of this nature are set at a level designed to fairly compensate EisnerAmper for

the work of its paraprofessionals and to cover fixed and routine overhead expenses.

       13.     This Application covers the period from October 16, 2015 through October 31,

2015. Although every effort was made to include all fees and expenses from the Compensation

Period in this Application, some fees and/or expenses from the Compensation Period might not be

included in this Application due to delays in processing time and receipt of invoices for expenses

and/or for preparation of the instant application subsequent to the Compensation Period.

Accordingly, EisnerAmper reserves the right to make further applications to the Court for

allowance of fees and expenses not included herein.



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       14.    EisnerAmper believes that the Application and the description of services set forth

herein for work performed are in compliance with the requirements of Del.Bankr.L.R. 2016-2, the

Interim Compensation Order, and the applicable guidelines and requirements of the Bankruptcy

Code, Federal Rules of Bankruptcy Procedure, and the Executive Office for the United States

Trustees. A true and correct copy of the Verification of Wayne P. Weitz is attached hereto.


       WHEREFORE, EisnerAmper respectfully requests monthly interim allowance of

compensation for professional services rendered in the amount of $55,469.50 and reimbursement of

expenses in the amount of $253.55 for the period October 16, 2015 through October 31, 2015 and

payment according to the procedures set forth in the Interim Compensation Order.

                                                     Respectfully submitted,


                                                     EISNERAMPER LLP



                                                     /s/ Wayne P. Weitz              .
Dated: November 25, 2015                             Wayne P. Weitz




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  VERIFICATION PURSUANT TO DEL. BANKR.L.R. 2016-2(f) AND 28 U.S.C. §1746(2)


       I, Wayne P. Weitz, verify as follows:


       1.      I am a managing director with the applicant firm, EisnerAmper LLP

(“EisnerAmper”). EisnerAmper has rendered professional services in these Chapter 11 cases as

financial advisor to the Official Committee of Unsecured Creditors.

       2.      I have read the foregoing application of EisnerAmper for compensation and

reimbursement of expenses (the “Application”). To the best of my knowledge, information and

belief formed upon the basis of my participation in these cases, as well as after reasonable inquiry,

the facts set forth in the foregoing Application are true and correct and materially comply with the

applicable orders, rules, guidelines and requirements as set forth by the Bankruptcy Code, the

Federal Rules of Bankruptcy Procedure, Del.Bankr.L.R. 2016-2, and the Executive Office for

United States Trustees.

       I verify under penalty of perjury that the foregoing is true and correct.



                                                      EISNERAMPER LLP




                                                      /s/ Wayne P. Weitz_____________________
Dated: November 25, 2015                              Wayne P. Weitz
